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                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

   MICHAEL GONIDAKIS,                        :
   6586 Baronscourt Loop                     :
   Dublin, OH 43016                          :
                                             :
   MARY PARKER,                              :    Case No. 2:22-cv-773
   8925 Cupstone Drive                       :
   Galena, OH 43021                          :
                                             :
   MARGARET CONDITT,                         :    Chief Judge Algernon L. Marbley
   6959 Rock Springs Drive                   :
   Liberty Twp., OH 45011                    :    Magistrate Judge Elizabeth P. Deavers
                                             :
   BETH VANDERKOOI,                          :
   541 East Moler Street                     :
   Columbus, OH 43207                        :
                                             :    Three-Judge Panel Requested
   LINDA SMITH,                              :
   4998 Blendon Pond Drive                   :
   Westerville, OH 43081                     :
                                             :
   DELBERT DUDUIT,                           :
   32 Greenbriar Road                        :
   Lucasville, OH 45648                      :
                                             :
   THOMAS W. KIDD JR.,                       :
   10114 Brooks Carroll Road                 :
   Waynesville, OH 45068                     :
                                             :
   DUCIA HAMM,                               :
   53 North Main Street                      :
   Ashland, OH 44805                         :
                                             :
                           Plaintiffs,       :
          v.                                 :
                                             :
   FRANK LAROSE, in his official capacity,   :
   22 N. Fourth St.                          :
   16th Floor                                :
   Columbus, OH 43215                        :
                                             :
                           Defendant.        :
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                       PLAINTIFFS’ FIRST SUPPLEMENTAL COMPLAINT
                        FOR DECLARATORY AND INJUNCTIVE RELIEF


         1.         Ohio’s state legislative districts, under the United States Constitution and as

  confirmed by voters through amendments to the Ohio Constitution, must be substantially similar

  in population. Ohioans also deserve the right to vote.

         2.         To do so, Secretary of State Frank LaRose began in earnest carrying out the Third

  Plan adopted by the Ohio Redistricting Commission. But then, the Ohio Supreme Court invalidated

  the Third Plan.

         3.         Therefore, this Court should declare that the tentatively adopted state legislative

  districts (or lack thereof) violate the U.S. Constitution, and this Court order that the Secretary of

  State maintain the status quo by continuing with the Third Plan adopted by the Redistricting

  Commission, attached as Exhibit C, for the 2022 election cycle.

                                             THE PARTIES

         4.         Plaintiffs are Ohio voters that live in House and Senate Districts that were drawn

  in 2010:

                       a. Plaintiff Michael Gonidakis resides in Dublin, Ohio at 6586 Baronscourt

                           Loop in House District 21 and Senate District 16.

                       b. Plaintiff Mary Parker resides in Galena, Ohio at 8925 Cupstone Drive in

                           House District 68 and Senate District 19.

                       c. Plaintiff Margaret Conditt resides in Liberty Township, Ohio at 6959 Rock

                           Springs Drive in House District 52 and Senate District 4.



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                       d. Plaintiff Beth Vanderkooi resides in Columbus, Ohio at 541 East Moler

                          Street in House District 18 and Senate District 15.

                       e. Plaintiff Linda Smith resides in Westerville, Ohio at 4998 Blendon Pond

                          Drive in House District 19 and Senate District 3.

                       f. Plaintiff Delbert Duduit resides in Lucasville, Ohio at 32 Greenbriar Road

                          in House District 90 and Senate District 14.

                       g. Plaintiff Thomas W. Kidd Jr. resides in Waynesville, Ohio 45068 at 10114

                          Brooks Carroll Road in House District 62 and Senate District 7.

                       h. Plaintiff Ducia Hamm resides in Savanah, Ohio at 53 North Main Street in

                          House District 70 and Senate District 22.

          5.       Plaintiffs live in either malapportioned state legislative districts or non-existent

  state legislative districts, thus harming Plaintiffs.

          6.       Plaintiffs are also harmed right now because, until valid redistricting occurs,

  Ohioans, including Plaintiffs, cannot decide which candidates to support, cannot decide to run or

  to encourage candidates to run, cannot educate themselves or others on the positions of candidates

  in their districts and prepare to hold those candidates responsible, and cannot associate with others

  in their district.

          7.       Defendant is Secretary of State Frank LaRose in his official capacity. Secretary of

  State LaRose is the Chief Elections Officer of Ohio, with such powers and duties relating to the

  registration of voters and the conduct of elections. See, e.g., O.R.C. § 3501.04.

                                    JURISDICTION AND VENUE

          8.       Plaintiffs bring this action under 42 U.S.C. § 1983 to address the deprivation, under

  the color of state law, of rights secured by the United States Constitution. This Court has original


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  jurisdiction over the subject matter of this action pursuant to 28 U.S.C. §§ 1331 and 1343 because

  the matters in controversy arise under the United States Constitution and the laws of the United

  States and involve the assertion of a deprivation, under color of state law, of rights under the

  Constitution of the United States. This Court has the authority to enter a declaratory judgment

  pursuant to 28 U.S.C. §§ 2201 and 2202, and order injunctive relief under Federal Rule of Civil

  Procedure 65.

         9.       This Court has personal jurisdiction over Defendant, Secretary of State Frank

  LaRose in his official capacity.

         10.      Venue is proper in the Southern District of Ohio, Eastern Division, because a

  substantial part of the events that give rise to Plaintiffs’ claims have occurred and will occur in this

  District and Defendant’s office is in this District.

         11.      A three-judge panel of this Court has jurisdiction to adjudicate this lawsuit because

  Plaintiffs are challenging the constitutionality of the apportionment of Ohio’s statewide legislative

  body. See 28 U.S.C. § 2284(a).

                                      STATEMENT OF FACTS

     A. Ohio voters elect bicameral legislature.

         12.      The State of Ohio has a bicameral legislature, with a House of Representatives and

  a Senate.

         13.      Representatives are elected biennially by the electors of their respective house of

  representatives districts, with terms beginning of the first day of January and continuing for two

  years. See Ohio Constitution, Article II, Section 2.




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         14.     Senators are elected by the electors of their respective senate districts. Their terms

  begin on the first day of January and continue for four years. See Ohio Constitution, Article II,

  Section 2.

         15.     The Ohio Constitution has historically provided for 99 Representatives and 33

  Senators. See Ohio Constitution, Article XI, Section 2 (2010). The districts have been determined

  by using the federal decennial census to divide the total population of the state by 99 and 33,

  respectively. Id. Districts must be substantially equal in population. See Ohio Constitution, Article

  XI, Section 3 (2010).

     B. New districts using federal census data in 2010 and approved by Ohio Supreme
        Court.

         16.     The 2010 decennial census found that Ohio had a population of 11,536,504 people.

  Two counties: Cuyahoga County and Franklin County had populations exceeding 1,000,000.

  Many others had populations of more than 300,000, including Hamilton, Montgomery, Summit,

  and Lorain, to name a few.

         17.     Following receipt of the 2010 census data, districts were created in accordance with

  the Ohio Constitution.

         18.     The Ohio Supreme Court subsequently confirmed the districts were apportioned

  consistent with the Ohio Constitution. See Wilson v. Kasich, 134 Ohio St.3d 221, 2012-Ohio-5367,

  981 N.E.2d 814, ¶ 48.

     C. Ohioans create new process for 2020 that still relies on federal census data.

         19.     In 2015, voters amended the Ohio Constitution with “Issue 1,” which created a

  bipartisan process for drawing new legislative districts that relied on the decennial census data.




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          20.     Ohio voters were clear that, as before the amendment, the legislative districts were

  to be based on the population of the state as determined by the federal decennial census. See Ohio

  Constitution, Article XI, Section 3.1

          21.     There were other changes as well, including the creation of the bipartisan Ohio

  Redistricting Commission. The Redistricting Commission was to be comprised of the governor,

  the auditor of state, the secretary of state, one person appointed by the speaker of the house of

  representatives, one person appointed by the legislative leader of the largest political party in the

  house of representatives of which the speaker of the house of representatives is not a member, one

  person appointed by the president of the senate, and one person appointed by the legislative leader

  of the largest political party in the senate of which the president of the senate is not a member. See

  Ohio Constitution, Article XI, Section 1.

          22.     Under this revised Ohio Constitution, the Redistricting Commission would be

  asked to draw new state legislative districts2 tied to various factors, such as federal partisan election

  results. See Ohio Constitution, Article XI, Section 6.

          23.     A district plan approved by a bipartisan majority of the Redistricting Commission

  would be valid for ten years, while a district plan approved by a simple majority for would be valid

  for four years. See Ohio Constitution, Article XI, Sections 8(B) and 8(C)(1)(a).

      D. The COVID-19 pandemic interrupts the 2020 decennial census.

          24.     The COVID-19 pandemic, which halted much of ordinary life during March 2020,

  also impacted the 2020 decennial census.


  1
    The Ohio Constitution, before and after 2015, also allows for use of alternative census
  information in the unlikely event the federal decennial census is unavailable.

  2
   The Redistricting Commission also draws congressional districts, which are not at issue in this
  Complaint.
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          25.    The Census Bureau usually relies on an army of door-knockers and phone bank

  employees to supplement the households that fill out forms.

          26.    The Census Bureau’s tactic of utilizing door-knockers and phone bank employees

  was made impractical because of the pandemic.

          27.    This led to delay by the Census Bureau and litigation ensued because of the delay.

          28.    Ohio eventually sued the Census Bureau and secured a settlement that ensured a

  still delayed, yet more timely, delivery of the information needed by the Redistricting Commission.

          29.    The 2020 U.S. Census data shows that Ohio’s population increased to 11,799,448

  people, an addition of hundreds of thousands of people over ten years.

          30.    Many political subdivisions grew by double-digits, including Franklin County,

  Delaware County, Warren County, and Union County, to name a few.

          31.    For Ohio’s most populous counties, Franklin, Cuyahoga, and Hamilton, there was

  a total shift of more than 200,000 people.

     E. The Redistricting Commission adopts its first plan using the most recent census data
        in September 2021 (“First Plan”).

          32.    With 2020 decennial census data finally in hand, the Redistricting Commission

  adopted an initial proposed state legislative district plan on September 9, 2021.

          33.    After the adoption of the September 9, 2021, proposed state legislative district plan,

  the Redistricting Commission held public meetings throughout Ohio on September 12, 13, and 14,

  2021.

          34.    Shortly after midnight on September 16, 2021, the Redistricting Commission voted

  five to two to adopt an amended version of the initial plan, or the First Plan.

          35.    A copy of the First Plan is attached as Exhibit A to the Complaint.



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         36.     Shortly thereafter, at least three organizations filed complaints in the Ohio Supreme

  Court challenging the Redistricting Commission’s First Plan.

         37.     The cases were brought pursuant to Article XI, Section 9 of the Ohio Constitution,

  and challenged the constitutionality of the Redistricting Commission’s First Plan.

     F. Three months later, in January 2022, the Ohio Supreme Court rejects the First Plan.

         38.     On January 12, 2022, nearly three and a half months after the organizations initially

  challenged the Redistricting Commission’s First Plan, the Ohio Supreme Court invalidated the

  First Plan. See League of Women Voters of Ohio v. Ohio Redistricting Comm., 2022-Ohio-65, ¶

  138.

         39.     The Ohio Supreme Court ordered the Redistricting Commission to be reconstituted

  under Article XI, Section 1, to “convene, and to ascertain and adopt a General Assembly – district

  plan in conformity with the Ohio Constitution” and directed the Redistricting Commission to adopt

  a new plan within ten days. Id. at ¶ 139.

     G. The Redistricting Commission adopts a Second Plan, again using the most recent
        census data.

         40.     The Redistricting Commission adopted a second state legislative district plan on

  January 22, 2022, the Second Plan, by a five to two vote.

         41.     A copy of the Second Plan is attached as Exhibit B to the Complaint.

         42.     Because the Redistricting Commission’s Second Plan did not have the bipartisan

  support required under Article XI, Section 8(B) of the Ohio Constitution, the Second Plan could

  remain in effect for no more than four years.

         43.     The Redistricting Commission’s Second Plan changed five House districts from the

  Redistricting Commission’s First Plan from Republican-leaning to Democratic-leaning and

  changed three Senate districts from Republican-leaning to Democratic-leaning.

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            44.   This represents a greater than 6% increase in the number of Democratic-leaning

  districts from the Redistricting Commission’s First Plan.

            45.   Nevertheless, the same organizations who challenged the Redistricting

  Commission’s First Plan again filed objections.

      H. Primary deadline passes in February 2022 for candidates while the Redistricting
         Commission’s Second Plan is considered.

            46.   While the Redistricting Commission’s Second Plan sat before the Ohio Supreme

  Court, the deadline for partisan candidates came and went.

            47.   On February 2, 2022, the deadline for partisan candidates to declare their candidacy

  passed.

            48.   On February 14, 2022, the deadline for local Boards of Elections to certify the

  validity and sufficiency of partisan candidates’ petitions also passed.

      I. Ohio Supreme Court rejects Second Plan and orders Third Plan.

            49.   On February 7, 2022, the Ohio Supreme Court sustained objections relating to the

  Redistricting Commission’s Second Plan and invalidated the revised plan in its entirety. See,

  League of Women Voters of Ohio v. Ohio Redistricting Comm., 2022-Ohio-342, ¶ 67.

            50.   After invalidating the Redistricting Commission’s Second Plan, the Ohio Supreme

  Court ordered the Redistricting Commission to adopt a Third Plan, and to file a copy of the Third

  Plan with the secretary of state no later than February 17, 2022, and with the Court by 9:00 am on

  February 18, 2022.

      J. Redistricting Commission declares impasse and cannot issue Third Plan.

            51.   Consistent with the Ohio Supreme Court’s order, the Redistricting Commission met

  a third time.



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           52.     However, the Redistricting Commission could not reach an agreement that

   followed the U.S. Constitution, Ohio Constitution, the Ohio Supreme Court, and the applicable

   federal data.

           53.     Accordingly, on February 17, 2022, the Redistricting Commission declared an

   “impasse” and determined it could not issue a Third Plan.

           54.     The Ohio Supreme Court received notice of this impasse the next day, on February

   18, 2022.

     I.    Redistricting Commission breaks impasse and adopts Third Plan.

           55.     However, shortly thereafter, the impasse was broken.

           56.     On February 24, 2022, by a 4-3 vote, the Redistricting Commission adopted another

   revised plan, the Third Plan.

           57.     The Third Plan was filed with the Ohio Supreme Court on February 25, 2022.

           58.     A true and accurate copy of the Third Plan is attached hereto as Exhibit C.

           59.     Objections were filed with the Ohio Supreme Court on February 28, 2022.

        K. Secretary of State LaRose goes forward with Third Plan without Ohio Supreme
           Court’s blessing.

           60.     Shortly after the Third Plan was adopted by the Redistricting Commission,

   Secretary of State LaRose, the state’s Chief Election Officer, determined that the state’s boards of

   elections would move forward with the Third Plan.

           61.     This decision was memorialized in Directive 2022-26, attached hereto as Exhibit

   D.

           62.     Directive 2022-26 was an exercise of the Secretary LaRose’s authority to move

   some but not all election deadlines under House Bill 93.



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          63.     Directive 2022-26, which assumes the adoption of the Third Plan, set deadlines for

   determining candidates, such as local boards of elections certifying petitions on March 14, 2022.

          64.     Under Directive 2022-26, protests must be filed against partisan candidates by

   March 17, 2022.

          65.     Because of Directive 2022-26, the primary election is speeding forward.

          66.     The Ohio Supreme Court, on March 16, 2022, invalidated the Third Plan.

          67.     As a result, Secretary LaRose may need to restart many of the election processes

   that he initiated assuming the Third Plan applied.

          68.     Secretary LaRose has indicated that it is too late to move away from the Third Plan

   to still have the primary on May 3, 2022.

      L. Plaintiffs are now stuck in malapportioned districts (or no district at all).

          69.     Because the Ohio Supreme Court invalidated the Third Plan, it is possible that the

   Secretary of State may stop implementing the Third Plan.

          70.     Without clearly adopted legislative districts, Plaintiffs cannot decide which

   candidates to support, cannot decide to run for elected office or to encourage candidates to run,

   cannot educate themselves or others on the positions of candidates in their districts and prepare to

   hold those candidates responsible, and cannot associate with others in their district.

          71.     Plaintiffs are in districts based on census data that is more than ten years old instead

   of districts based on the 2020 decennial census. As a result, Plaintiffs live in malapportioned

   districts, with variance greater than 10%. For example, Mr. Gonidakis, Ms. Vanderkooi, and Ms.

   Smith live in Franklin County, which has gained more than 150,000 people since the last census,

   and their respective cities have experienced more than 10% in population gains, diluting their votes

   within their voting districts. The same is true for Ms. Parker, Mr. Kidd, and Ms. Conditt, whose


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   areas (and therefore districts) have also grown exponentially in population. Conversely,

   individuals in areas of Ohio that lost population, such as Scioto County, have seen their voting

   power increase because their population decreased.

          72.     As a result, Plaintiffs’ districts (using the 2010 legislative district maps), including

   House Districts 18, 19, 21, 52, 62, 68, 70, and 90 and Senate Districts 3, 4, 7, 14, 15, 16, 19, and

   22, are malapportioned, as they now are outside the permissible 5% variance of the target

   population.

          73.     Because Plaintiffs’ districts are malapportioned and require adjustment, and the

   adjustment can only come from other state legislative districts, all of Ohio’s districts are

   malapportioned or otherwise impacted by malapportionment and requirement adjustment.

          74.     Alternatively, the 2010 state legislative districts have expired, and Plaintiffs’ rights

   have been violated because they have no state legislative districts at all because the Third Plan has

   been invalidated.

          75.     The plans adopted by the Redistricting Commission and rejected by the Ohio

   Supreme Court, attached as Exhibits A and B, properly distribute voting power and are based on

   2020 census data.

          76.     The Third Plan also properly adopts voting power based on the 2020 census data.

          77.     Additionally, because litigation regarding the Redistricting Commission’s

   approved legislative district plans has been pending before the Ohio Supreme Court since

   September 2021, no resolution will be achieved regarding Ohio’s state legislative district maps

   before applicable voting deadlines, including the May 3, 2022, primary election.




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                                                COUNT I

            78.   The Fourteenth Amendment of the U.S. Constitution requires that no state shall

   deny any person within its jurisdiction the equal protection of its laws. This requires that both

   houses of a bicameral legislature be apportioned on a population basis. In other words, an

   individual’s right to vote for state legislatures is unconditionally impaired when the weight of the

   individual’s vote is substantially diluted when compared with citizens that in other parts of the

   state.

            79.   The 2020 U.S. Census revealed significant changes to Ohio’s population.

            80.   But Ohio does not currently have districts modified to fit these most recent changes.

            81.   As a result, if elections are allowed to take place before the legal sufficiency of

   districts are resolved, votes in overpopulated districts, such as Plaintiffs, will suffer from vote

   dilution. This means a deprivation of political power and resources.

            82.   Additionally, the ongoing uncertainty for the 2022 election cycle prevents voters,

   including Plaintiffs, from knowing their voting district, engaging with candidates, holding

   representatives accountable, and associating and organizing with their favored candidates.

            83.   Plaintiffs are suffering this harm on an ongoing basis.

                                     COUNT II (ALTERNATIVE)

            84.   The Fourteenth Amendment of the U.S. Constitution requires that no state shall

   deny any person within its jurisdiction the equal protection of its laws without due process. This

   requires allowing an elector the opportunity to vote for a candidate for a state legislative district.

            85.   To protect these rights, Secretary of State LaRose started the election processes

   with the Third Plan. This ensures that the May 3 primary takes place.




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           86.     But the Ohio Supreme Court has just invalidated the Third Plan, which threatens to

   stop the work of the Secretary of State carrying out the Third Plan, and could disrupt the status

   quo.

           87.     If the status quo is disrupted, then there will be no state legislative districts, and

   Plaintiffs cannot exercise their right to vote for a candidate for a state legislative district in violation

   of the Equal Protection Clause and the Due Process Clause.

           88.     Additionally, the ongoing uncertainty for the 2022 election cycle prevents voters,

   including Plaintiffs, from knowing their voting district, engaging with candidates, holding

   representatives accountable, and associating and organizing with their favored candidates.

           89.     Plaintiffs are suffering this harm on an ongoing basis.

                                                  COUNT III

           90.     The First Amendment of the U.S. Constitution protects the freedom of association

   and applies to the states via the Fourteenth Amendment.

           91.     Unnecessary uncertainty about the 2022 election impedes candidates’ abilities to

   run for office, and restricts Plaintiffs’ First Amendment right to association because it restricts an

   individual’s ability to assess candidate positions and qualifications, advocate for candidates, and

   associate with like-minded voters.

           92.     Because of the malapportioned districts or the tentative districts, there is imminent

   risk of confusion and ongoing denial of Plaintiffs’ freedom of association.

           93.     There is no compelling reason to deny Plaintiffs’ freedom of association.

           94.     Plaintiffs are suffering these harms on an ongoing basis.




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                                     PRELIMINARY INJUNCTION

           95.     Because should the Secretary of Stop implementing the Third Plan, then Plaintiffs

   will effectively no state legislative districts or their state legislative districts are outdated, so they

   are very likely to succeed on the merits of their claim.

           96.     Because the Plaintiffs are at risk of being denied the right to vote in violation of the

   U.S. Constitution, so they are suffering an irreparable injury.

           97.     Because voting is a fundamental right, the public interest favors restoring the voting

   rights of Plaintiffs and other Ohioans.

           98.     There is no harm in the Redistricting Commission following the U.S. Constitution

   and Plaintiffs receiving the right to vote.

                               REQUEST FOR THREE-JUDGE PANEL

           99.     Plaintiffs request a three-judge panel to adjudicate this lawsuit because Plaintiffs

   are challenging the constitutionality of the apportionment of Ohio’s statewide legislative body. See

   28 U.S.C. § 2284(a).

           WHEREFORE, Plaintiffs respectfully request that this Court:

                      i.   Declare that the removing the current configurations of Ohio’s state

                           legislative districts, the Third Plan, violates the First and Fourteenth

                           Amendments to the U.S. Constitution;

                     ii.   Permanently enjoin Defendant and all persons acting on his behalf or in

                           concert with him from implementing, enforcing, or conducting any

                           elections under Ohio’s current state legislative districts other than the Third

                           Plan;




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                iii.   Establish a schedule that will enable the Court to adopt a timely enacted and

                       lawful plan and implement the new plan for Ohio’s state legislative districts,

                       specifically the Third Plan, attached as Exhibit C, which is already in

                       motion;

                iv.    Retain jurisdiction while Defendant enacts plans by this Court’s deadline;

                 v.    Award Plaintiffs’ attorneys’ fees and costs in this action; and

                vi.    Grant such other and further relief as this Court deems just and proper in

                       the circumstances.

                                                      Respectfully submitted,

                                                      Isaac Wiles & Burkholder LLC

                                                      /s/ Donald C. Brey
                                                      Donald C. Brey (0021965)
                                                      Brian M. Zets (0066544)
                                                      Matthew R. Aumann (0093612)
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                                                      Attorneys for Plaintiffs




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                                    CERTIFICATE OF SERVICE

          I hereby certify that on March 18, 2022, a copy of the foregoing was filed electronically.

   Notice of this filing will be sent to all parties by operation of the Court's electronic filing system.

   Parties may access this filing through the Court’s system.

                                                          /s/Donald C. Brey
                                                          Donald C. Brey (0021965)




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